                       Case 23-00020   Doc 4       Filed 01/29/23   Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Greenbelt Division

In re:                                                 *

EYAL SAMUEL ROSENSTOCK                                 *     Case No. 18-19227-LSS
                                                             Chapter 13
         Debtor.                                       *

*        *         *      *    *       *       *       *     *       *     *      *     *

EYAL SAMUEL ROSENSTOCK                                 *     Adversary No.: 23-00020

         Plaintiff,                                    *

vs.                                                    *

MARIA PINEIRO PEREZ                                    *

and                                                    *

MANUEL BISMARCK TORRES NEGRON                          *

         Defendants                                    *
*        *     *          *    *       *       *       *     *       *     *      *     *

                              AFFIDAVIT OF SUMMONS SERVICE

        I, David E. Cahn, hereby certify that on January 29, 2023, a copy of the Summons and
Notice of Pre-Trial Conference, Plaintiff’s Complaint for Contempt and Damages for the
Violation of the Automatic Stay and Exhibits thereto were served via USPS first class mail,
postage prepaid, to:

         Maria Pineiro Perez
         Urb Paseo Los Robles Las Colinas II
         Apt. 1305
         Mayaguez, PR 00682
          Case 23-00020   Doc 4     Filed 01/29/23   Page 2 of 2




Manuel Bismarck Torres
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                                  /s/ David E. Cahn__
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